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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                           )
                                                   )
V.                                                 )   No. 4:17CR00145 BSM
                                                   )
EDGAR K. RIDDICK                                   )

                                    MOTION TO CONTINUE

        The defendant, Edgar K. Riddick, moves this Court to enter an order continuing the trial

of this matter pursuant to 18 U.S.C.§ 3161(h)(8)(B).

        1.       Riddick is charged with one count of possessing images of a minor engaged in

sexually explicit conduct, a violation of 18 U.S.C. §2252(a)(4)(B), and three counts of

distributing images of a minor engaged in sexually explicit conduct, violations of 18 U.S.C.

§2252(a)(2).

        2.       The case is currently set for trial on March 11, 2019.

        3.       The decision of whether or not to grant a continuance is determined by 18 U.S.C.

§3161(h)(8)(B). The factors the Court may consider, among others, include 1) whether the

failure to grant a continuance would result in a miscarriage of justice; 2) whether the case

presents unusual or complex circumstances that it would be unreasonable to expect adequate

preparation in the time originally allotted, and; 3) in a case that is not unusual or complex,

whether the failure to grant a continuance would unreasonably deny the defendant continuity of

counsel, or a reasonable time for effective preparation, taking into account the exercise of due

diligence.

        4.       A continuance in this case is necessary for the parties to finalize their plea

negotiations. The parties request that the Court set this matter for a change of plea hearing in 90

days.



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       5.       I have contacted the Assistant United States Attorney assigned to this case who

has authorized me to state that she has no objection to this request.

       6.       Riddick asserts that the public interest in a speedy trial, as well as the defendant's

interest in a speedy trial, are outweighed by the defendant's interest in a fair trial with counsel of

choice with adequate preparation time. The defendant asserts that the ends of justice will best be

served by granting a continuance.

       WHEREFORE, the defendant, Edgar K. Riddick, requests that the court grant a

continuance of the trial in this matter.

                                               Respectfully submitted by,


                                               /s/J. Blake Hendrix______________
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                                  CERTIFICATE OF SERVICE

I hereby certify that on March 7, 2019, I electronically filed the foregoing with the Clerk of
Court using CM/ECF system, which shall send notification of such filing to all counsel of record.


                                               /s/J. Blake Hendrix_______________




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